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           CHARTER COMMUNICATIONS, INC.
      10
                                       UNITED STATES DISTRICT COURT
      11
                                     NORTHE. ,T OF CALIFORNIA
      12

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           CHARTERCOMMUNICATION:~:c                          )
                                                             )
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                                                                      J,~l~j!j} 8 4MI
                  Movant,                                    )
      14                                                     )   REDACTED VERSION
                     V.                                      )   Charter's Notice of Motion and Motion to
      15                        )                                Compel Compliance with Subpoena Duces
           MARKMONITOR, INC.    )                                Tecum
      16                        )
              Respondent.       )                                Date:    May 11 , 2020
      17                        )                                Time:    To be set
           _ _ _ _ _ _ _ _ _ _ _)                                Place:   To be set
      18

      19
                  NOTICE is hereby given of the filing of this motion pursuant to Rule 45( d)(2)(B) of the Federal
     20
           Rules of Civil Procedure by Charter Communications, Inc. ("Charter"). This motion seeks to compel
     21
           Respondent, MarkMonitor, Inc. ("MarkMonitor"), to comply with a third-party subpoena that Charter
     22
           served on it on December 20, 2019, in a copyright infringement litigation currently pending in the
     23
           District of Colorado, styled Warner Records Inc. v. Charter Communications, Inc., Case No. 19-cv-
     24
           00874-RBJ-MEH (the " Warner litigation"). Pursuant to Fed. R. Civ . P. 45 , Charter files its Motion
     25
           in this District, where MarkMonitor is located.
     26
                  Pursuant to Local Civil Rule 37-l(a), the undersigned counsel for Charter represents that
     27
           counsel for Charter met and conferred with counsel for MarkMonitor on multiple dates, including
     28

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           most recently on May 1, 2020, with respect to the issues raised in this Motion, but that, as of the date

      2    of filing this Motion, Mark.Monitor has not produced documents responsive to Charter's requests nor

      3    committed to a timeline for doing so.

      4           This Motion seeks an order from the Court directing Mark.Monitor to fully comply with

       5   Request for Production ("RFP") Numbers 6, 9, 11-27, 31, 35--40, 43, 47--48 of the subpoena and

       6   setting a deadline for Mark.Monitor to produce all of the documents Mark.Monitor has agreed to

       7   produce. As explained in greater detail below, those materials are essential to Charter in its preparation

       8   of its defense in the Warner litigation.

       9

      10   Dated: May 11, 2020                            WINSTON & STRAWN LLP

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       1                                             INTRODUCTION

      2           Charter, an Internet service provider ("ISP"), has been sued for copyright infringement by 66

       3   of the world's largest record labels and music publishers (collectively, "Plaintiffs"). Warner Records

       4   Inc. v. Charter Communications, Inc., Case No. 19-cv-00874-RBJ-MEH (D. Colo.) (the "Warner

       5   litigation"). Plaintiffs allege that thousands of their works were unlawfully distributed online by

       6   Charter's Internet service subscribers to third patties using BitTorrent or other peer-to-peer file sharing

       7   programs between 2013 and 2016. They seek to hold Charter vicariously and contributorily liable for

       8   its subscribers' conduct based on Charter's provision oflnternet services to these subscribers, and seek

       9   statutory damages in excess of $1.6 billion.       The sole evidence supporting Plaintiffs' claims of

      10   copyright infringement by Charter's subscribers was provided by a third party-MarkMonitor-who

      11   was engaged by the record label Plaintiffs' trade organization, the Recording Industry Association of

      12   America ("RIAA''), to identify alleged infringers who were sharing copyrighted files on peer-to-peer

      13   networks, and send notices to the ISPs, including Charter, that provided Internet services to those

      14   alleged infringers. MarkMonitor has represented that it has been retained as a litigation consultant in

      15   this case. Given that the data compiled by MarkMonitor is the only evidence underlying Plaintiffs'

      16   claims, Charter served a subpoena seeking access to that data and to documents explaining the

      17   operation of the infringement detection and notice software that compiled it. 1 In addition, Charter

      18   sought documents evidencing the relationship between MarkMonitor and the RIAA, MarkMonitor

      19   and Plaintiffs, and communications among those respective parties.

      20           MarkMonitor sought, and received, an extension to reply to the subpoena, promised to

      21   substantially comply with the requests during the meet and confer process, and took three months to

      22   collect responsive documents. Rather than perform the promised reasonable search to respond to

      23   Charter's subpoena, MarkMonitor ultimately produced a scant 15 documents comprising 94 pages,

      24   and insists that it possesses virtually none of the requested material. 2 The claim is facially untrue, as

      25   it means that MarkMonitor does not possess data that it produced in another related matter, data that

      26
           1 See Declaration of Jennifer A. Golinveaux ("Golinveaux Deel."), Ex. 2 (Charter's Subpoena Duces
      27
           Tecum on Mark.Monitor).
           2 The totality ofMarkMonitor's production in response to Charter's subpoena was a set of 15 contracts
      28
           between MarkMonitor and the RIAA, totaling 94 pages.
                                                            1
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       1   it was contractually obligated to create and preserve in anticipation of potential litigation, data that it

       2   incontestably received as evidenced by third-party documents, and that it lacks any of the basic

       3   documentation that would be generated and maintained by a technology vendor.                Indeed, taken

       4   literally, MarkMonitor's denials that it possesses responsive evidence would mean that it lacks the

       5   very data the Plaintiffs' interrogatory responses indicate will be used to prove infringement. For

       6   example, MarkMonitor claims it does not possess any of the following:

       7          •    Basic Technical Documents: MarkMonitor claims it does not have any technical

       8               documents, such as specifications, requirement documents, user guides, or technical

       9               marketing materials that explain how MarkMonitor's software was designed and operates.

      10               These are the types of documents that are universally maintained in the ordinary course of

      11               business when developing and selling software and software-based services because they

      12               are necessary to a well-designed and reliably operated data services business.

      13          •    Previously Produced Documents That Are a Matter of Public Record: In a recent

      14               litigation featuring parallel claims of copyright infringement against another ISP (Cox

      15               Communications, Inc.) MarkMonitor produced numerous documents that were identified

      16               in the public record and, in some instances, disclosed in open court. Sony Music Entm 't,

      17               et al. v. Cox Commc'ns, Inc., et al., Case No. 1:18-cv-00950-LO-JFA ("Sony v. Cox").

      18               Those publicly disclosed materials include numerous documents responsive to Charter's

      19               subpoena, including a number of the technical documents that MarkMonitor now insists

      20               do not exist. MarkMonitor refused to stipulate that materials produced in Sony v. Cox can

      21               be deemed produced in this case, refused to produce them in this case, and inexplicably

      22               claims that it no longer possesses these publicly disclosed documents.

      23           •   Documents and Data Compiled and Maintained by MarkMonitor Under Contract

      24               with the RIAA: MarkMonitor was contractually required to create, and preserve, a variety

      25               of reports and databases under a series of written agreements with the RJAA, with the

      26               expectation that this data would be used by the RJAA or its members in the event of

      27               lawsuits such as this one. The RJAA Agreements spell out this information, and third-

      28               party documents confirm some of the data that MarkMonitor compiled. Nonetheless,
                                                                2
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       1                 MarkMonitor refused to produce any of this material, denied Charter access to these

       2                 databases, and refused to produce fundamental documentation describing the contents and

       3                 operation of the databases, claiming that the documentation does not exist, and that the data

       4                 has been provided to Plaintiffs-who have selectively reproduced ce1tain of those

       5                 materials. What Charter has received is massively incomplete, and consists of data that is

       6                 either lacking data known to have been received by MarkMonitor or altered from the

       7                 version produced by MarkMonitor.

       8             The importance of MarkMonitor's documents are underscored by the Plaintiffs' own

       9   statements in the Sony v. Cox litigation. 3 During trial, Plaintiffs explained that their infringement

      10   evidence was rock solid because evidence generated by MarkMonitor' s software was the "gold

      11   standard in antipiracy work," and boasted that " [Mark.Monitor's] process is precise and meticulous"

      12   and "essentially infallible."4 Charter must have an opportunity to see what all of that evidence was,

      13   how it was compiled, and to challenge Plaintiffs' claim of infallibility. Charter cannot do so without

      14   complete discovery from MarkMonitor.             Given MarkMonitor's refusal to produce documents,

      15   including documents it either must have or has acknowledged it does have, Charter was left with little

      16   choice but to seek the Court's assistance through this motion to compel.

      17                                              LEGAL STANDARD
      18             Pursuant to the Federal Rules, a party may subpoena a third party, such as MarkMonitor, to

      19   produce documents. See Fed. R. Civ. P. 45(a). Fed. R. Civ. P. 26 allows a party to obtain discovery

     20    concerning any non-privileged matter that is relevant to any party's claim or defense. Fed. R. Civ. P.

     21    26(6 )(1 ). "The question of relevancy should be construed liberally and with common sense and

     22    discovery should be allowed unless the information sought has no conceivable bearing on the case."

     23    Soto v. City of Concord, 162 F.R.D. 603,610 (N.D. Cal. 1995). Ultimately, district courts have broad

     24    discretion in determining whether evidence is relevant for discovery purposes. See Surfvivor Media,

     25    Inc. v. Survivor Prods., 406 F.3d 625, 635 (9th Cir. 2005); Beinin v. Ctr.for Study of Popular Culture,

     26    No. 06-cv-02298 JW (RS), 2007 WL 832962, at *2 (N.D. Cal. Mar. 16, 2007) (explaining that the

     27
           3
               Fifty-two of the 66 Plaintiffs in the Charter case were also Plaintiffs in Sony v. Cox.
     28    4
               See Golinveaux Deel., Ex. 15 (Sony v. Cox Litig. Trial Tr. at 40: 1-9, 225 :3-4, 2944: 10-11 ).
                                                                 3
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       1   Rule 26 relevancy standard applies equally to third-party subpoenas).

       2          To determine whether a subpoena should be enforced, the Court is guided by both Rule 45,

       3   which protects a subpoenaed party from "undue burden," and Rule 26, which provides that the Court

       4   must limit discovery if "the discovery sought ... can be obtained from some other source that is more

       5   convenient, less burdensome, or less expensive" or if "the burden or expense of the proposed discovery

       6   outweighs its likely benefit." Fed. R. Civ. P. 45(d)(l); Fed . R. Civ. P. 26(b)(2)(C)(i); see Integrated

       7   Global Concepts, Inc. v. j2 Global, Inc., 2014 WL 232211, at *2 (N.D. Cal. Jan . 21, 2014); see also

       8   Am. Broad. Cos., Inc. v. Aereo, Inc. , No . CV-12-80300-RMW, 2013 WL 1508894, at *4 (N .D. Cal.

       9   Apr. 10, 2013) ("The burden of showing that a subpoena is unreasonable and oppressive is upon the

      10   party to whom it is directed ."). The subpoenaed party carries the burden of showing that requested

      11   discovery should not be provided, and also has the burden of clarifying, explaining, or supporting its

      12   objections with competent evidence. See La. Pac. Corp. v. Money Market 1 Inst'/ Inv. Dealer, Case

      13   No. 09-cv- 03529-JSW, 2012 WL 5519199, at *3 (N.D. Cal. Nov. 14, 2012); United States v. Warner,

      14   Case No. l l-cv-04181 - LB, 2012 WL 6087193 , at *3 (N.D. Cal. Dec. 6, 2012).

      15           Pursuant to Northern District of California Local Rule 37-2, a party moving to compel

      16   discovery must "detail the basis for the party ' s contention that it is entitled to the requested discovery

      17   and must show how the proportionality and other requirements of Fed. R. Civ. P. 26(b)(2) are

      18   satisfied." See also Fed . R. Civ. P. 26(b)(2) (requiring that when determining the appropriateness of

      19   discovery requests, courts should consider whether the discovery is duplicative or overly burdensome

      20   and whether the burden and expense of discovery outweighs the benefit). The Court has discretion to

      21   determine whether to grant a motion to compel. See Garrett v. City and Cty. of San Francisco , 818

      22   F.2d 1515 , 1519 (9th Cir. 1987).

      23                                        FACTUAL BACKGROUND

      24               THE PLAINTIFFS' RELIANCE ON THE MARKMONITOR SYSTEM

      25           In December 2011, the Plaintiffs, through their agent, RIAA, entered into a "Master

      26   Agreement" with MarkMonitor, then called DtecNet, to perform copyright infringement detection

      27   services aimed at identifying suspected infringement occurring on the networks of a number of ISPs,

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       1   including Charter. 5 The Master Agreement was implemented through a series of "'Statement[s] of

       2   Work" 6 and supplanted one or more earlier agreements believed to date back to at least 2008. 7 The

       3   contracts between Marklvfonitor and the RIA...\ explain that Mark11onitor

       4

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       8             More specifically, the MarkMonitor-RIAA contracts required that MarkMonitor create three

       9   databases: a

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      11                                                                                                onitor to
      12                                                                                             12 including,


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      18             Pursuant to the Master Agreement between the pa1iies, MarkMonitor agreed that, at RIAA' s

      19                                                                               ; 16 these "Evidence Cases"

      20   consisted of

      21   5 See Golinveau.,"( Deel. , Ex. 7 (Master Agreement,
                                                                  Bates No. Mtv1000001).
           6 See,
      22            e.g., Golinveaux Deel., Ex. 8 (2011 Statement of Work ("SOW"), Bates No. :MM000015); Ex.
           10 (2012 SOW, Bates No. :tvfl\,1000023); Ex. 11 (2013 SOW, Bates No. MM000042); Ex. 12 (2014
      23   SOW, Bates No. :MM000076); Ex. 13 (2015 SOW, Bates No. :MM0000064).
           1 See Golinveaux Deel.
                                     , Ex. 7 at :tv1N1000004, ,i 1.3 (Master Agreement).
           8 See Golinveaux
      24                        Deel , Ex. 7 (Master Agreement).
           9 Id.
           10
      25      See Goli.nveamc Deel., Ex. 10 at Iv!M000033-34 (2012 SOW), Ex. 11 at MM000043-45, 49-51 (2013
           SOW), Ex. 13 at:M1v1000065-66, 71-73 (2015 SOW), Ex. 12 atMM000077-78, 85-87 (2014 SOW).
           11 See, e.g. , GolinveatLX DecL, Ex. 10 at MM000032-34
      26                                                                 (2012 SO\V).
           12 See Golinveaux Deel.,
                                        Ex. 7 at :MM000004, ,i 2.1 (Master Agreement).
           13
      27      See, e.g. , Golinveaux Deel. , Ex. 10 at MM000032-34 (2012 SOW).
           14
              See, e.g. , Golinveau.x Deel. , Ex. 11 at MM000044 (2013 SOW).
           15 See id. Ex. 11 at MM000053
      28                                       (2013 SOW).
           16 See id. Ex. 7 at MM000004,
                                              Par. 2.2 (Master Agreement).
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                                       17   MarkMonitor authorized the use of any "report" that it generated
       1

       2

       3                                                                                                    these

       4

       5
       6          In January 2015, RIAA and MarkMonitor entered into a Statement of Work pursuant to their

       7   Master Agreement, describing

       8

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      14   RIAA's expense. 21

      15          While MarkMonitor has declined to produce any documents regarding its software, publicly

      16   available testimony, provided in open court during the Sony v. Cox trial, provides an insight into the

      17   complexity of the system. 22 At the Sony v. Cox trial, unsealed testimony from a MarkMonitor

      18   representative and Plaintiffs' expert explained that the MarkMonitor system is comprised of three

      19   modules: a Verification Module, which "creates a database of known infringing files"; a Detection

      20   Module, which "identifies peers [i.e., subscribers] downloading or distributing known infringing

      21   files"; and a Notice Module, which "sends email to [an] ISP reporting specific instances of

      22

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      24   17 See id. at MM000002, Par. C.
           18 Id. at MM0000l0, Par. 8.8.
      25   19 See Golinveaux Deel., Ex. 7 at MM0000 12, Par. 11.1 (Master Agreement).
           20 See id., Ex. 8 at MM000015 (2011 SOW).
      26   21 Id. at MM000016.
           22 Similar descriptions of the MarkMonitor processes utilized by RIAA have been publicly disclosed
      27   in, inter alia, Congressional and other legislative hearings. See, e.g., Golinveaux Deel., Ex. 21 (Jill
           Lesser, Tr. of Mar. 8, 2013 educational briefing entitled "Combating Piracy Online: The Copyright
      28   Alert System, a Voluntary Approach").
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           infringement." 23 The Verification Module is comprised of software that scans the Internet to identify

       2   potentially infringing files that are being shared in peer-to-peer networks. 24       The MarkMonitor

       3   software downloads the suspected files and verifies that they represent copies of copyrighted works

       4   by interacting with the software and databases maintained by a third party, Audible Magic, to confirm

       5   what is in the downloaded file. Verification that suspected files are in fact infringing is achieved by

       6   utilizing a process known as digital fingerprinting. 25 In implementing the Infringement Module (also

       7   referred to as the Collection Module), the MarkMonitor software masquerades as a participant in the

       8   file-sharing network, and connects to the computers that are suspected of unlawfully sharing files

       9   (referred to as "peers"; in this case, Charter's subscribers). MarkMonitor downloads from those peers

      10   a variety of information for the purpose of proving that the peer is sharing the file in question. 26 That

      11   information is compiled into the "evidence packages" referred to above. 27 The Notification Module

      12   performs a variety of checks on each evidence package, and, if appropriate, uses the content of the

      13   evidence package to generate a notice of infringement which is then sent to the ISP that provides

      14   Internet access to the infringing peer. 28

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           23 See Golinveaux Deel., Ex. 16 (Sony v. Cox, Frederiksen-Cross Trial Demonstrative, Slide 14 ); see
      23
           also Deel. Ex. 17 (Sony v. Cox, Frederiksen-Cross Trial Testimony at 461 :9-463:14).
           24 See Golinveaux Deel., Ex. 16 (Sony v. Cox, Frederiksen-Cross Trial Demonstrative, Slide 15); see
      24
           also Golinveaux Deel. Ex. 17 (Sony v. Cox, Frederiksen-Cross Trial Testimony at 461 :9-462: 1).
           25 See Golinveaux Deel., Ex. 16 (Sony v. Cox, Frederiksen-Cross Trial Demonstrative, Slides 15-17);
      25
           see also Golinveaux Deel. Ex. 17 (Sony v. Cox, Frederiksen-Cross Trial Testimony at 462:15-467: 14).
           26 See Golinveaux Deel., Ex. 16 (Sony v. Cox, Frederiksen-Cross Trial Demonstrative, Slide 18); see
      26
           also Golinveaux Deel. Ex. 17 (Sony v. Cox, Frederiksen-Cross Trial Testimony at 467: 17-469: 17).
           27 See Golinveaux Deel., Ex. 16 (Sony v. Cox, Frederiksen-Cross Trial Demonstrative, Slide 19); see
      27
           also Golinveaux Deel. Ex. 17 (Sony v. Cox, Frederiksen-Cross Trial Testimony at 473:7-474: 14).
           28 See Golinveaux Deel., Ex. 16 (Sony v. Cox, Frederiksen-Cross Trial Demonstrative, Slides 20-21);
      28
           see also Golinveaux Deel. Ex. 17 (Sony v. Cox, Frederiksen-Cross Trial Testimony at 476:6-479:1).
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                                                       ARGUMENT

       2   I.     MarkMonitor Must Produce Technical Information About Its System (RFP Nos. 6, 9,

       3          11-27,31,35-40,43)
       4          As discussed above, MarkMonitor's technology generated the sole evidence of the alleged

       5   infringement for which Plaintiffs seek to hold Charter vicariously or contributorily liable.          In

       6   particular, when the MarkMonitor technology detected suspected infringement on the Internet, it

       7   downloaded copies of the suspect files for "fingerprinting" and verification by Audible Magic,

       8   generated an "evidence package" by contacting the peer suspected of sharing the file, and generated

       9   notices of the infringement that it sent to Charter. Plaintiffs now rely on those "verified" downloads

      10   and "evidence packages" to prove infringement, and on the notices to prove that Charter was

      11   secondarily liable for the infringement. But what files were downloaded? And which files were

      12   actually verified-or not verified-by Audible Magic? When Audible Magic verified a file, how did

      13   it do that? What information about the verified file did MarkMonitor receive from Audible Magic?

      14   Did it keep everything? Once a file was "verified" as containing a copyrighted work, how did

      15   MarkMonitor generate the "evidence packages" showing that a peer was sharing that work? What is

      16   in the evidence packages that MarkMonitor generated in supp01t of the notices sent to Charter? And,

      17   with respect to those notices, how did the MarkMonitor system assure that only notices that met all of

      18   the relevant criteria were sent?

      19          In order to answer many of these questions, Charter will review MarkMonitor's source code, 29

      20   but it has also requested the documents necessary to make that review possible; namely, documents

      21   pertaining to what is contained in the source code; namely, the operation, features, and functionality

      22   of the MarkMonitor system and the manner in which it supposedly detected infringement and sent

      23   copyright infringement notices (RFP Nos. 6, 7, 9, 13, 24-27, 32), including details of how

      24   MarkMonitor performed the process of verification (RFP Nos. 10, 14), such as by downloading and

      25   fingerprinting copies of the allegedly infringing file. The fingerprinting portion of this verification

      26   process relied on software and services provided by another software vendor, Audible Magic, and

      27
           29
              The parties are still negotiating the terms of this source code review, but are not currently at issue
      28   as to that process.
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       1   Charter has accordingly requested documents explaining the services that Audible Magic offered and

       2   that MarkMonitor enlisted Audible Magic to provide (RFP Nos . 3, 15, 21 ), as well as the details of the

       3   interaction between MarkMonitor' s and Audible Magic ' s software, including the exchange of digital

       4   "fingerprint" information, related metadata, and "transaction logs" of the data received from Audible

       5   Magic repo1ting the results of the verification checks requested by MarkMonitor. (RFP Nos. 12, 16,

       6                             ° Charter has also requested copies of the allegedly infringing files that
           17, 18, 19, 22, 25 , 43.) 3

       7   MarkMonitor downloaded from the Internet for verification by Audible Magic, the databases that

       8   MarkMonitor created for RIAA, and the evidence packages that it compiled, so Charter can analyze

       9   for itself whether the evidence of infringement is what MarkMonitor and Plaintiffs represent it to be .

      10   (RFP Nos. 12, 13, 14, 16, 19, 25.) 31

      11          Incredibly, MarkMonitor claims that it does not possess a single document responsive to these

      12   requests. 32 This claim lacks credibility, for at least the reason that MarkMonitor was contractually

      13   obligated by the RIAA to "maintain" exactly this data,33 and to be able to provide detailed descriptions

      14   of its processes, and documentation to verify and prove the integrity of any evidence it gathers. 34

      15   "Maintaining" data is the opposite of not possessing it. And MarkMonitor could not reasonably honor

      16   its promise to demonstrate the integrity of its infringement detection, file verification, and evidence

      17   packages, without actually keeping the data in question and without documentation demonstrating

      18   how that data was collected.

      19           In addition, Charter' s requests seek basic documents that would be maintained by any

      20   technology company because these documents are required in order to develop, use, and offer services

      21   of the sort provided by MarkMonitor. 35 For example, a company that develops software or provides

      22   database services would need to have internal documentation that details the features the software and

      23   the database are supposed to provide (e.g. , technical specifications) and tracks the implementation of

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           30 See Golinveaux Deel. , Ex. 2 (Charter' s Subpoena Duces Tecum on MarkMonitor).
      26   31 Id.
           32 See Golinveaux Deel. , Ex . 5 (MarkMonitor's Am . Resps. and Objs.).
      27   33 See, e. g. , Golinveaux Deel. , Ex. 10 at MM000032-34 (20 l 2 SOW).
           34 Id. Ex. 7 at MM000004 (Master Agreement); Ex. 11 at MM000044, 59, 66 (2013 SOW).
      28   35 See Declaration of Dr. Sandeep Chatterjee ("Chatterjee Deel."),~ 22, 23 .
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           those features (e.g. , change requests, version control logs). 36 Similarly, a company selling such

       2   services would need to generate and maintain documentation to train its personnel and to help

       3   salespeople explain the service to prospective customers, as well as documentation to inform potential

       4   customers regarding the features and operation of the service, and to inform existing customers of

       5   updates in the platform. 37 And technology companies have extensive quality assurance operations,

       6   which, among other things, perform audits, both internal and external, including pre-deployment

       7   testing and post-deployment testing, to ensure the reliability and quality of their software.38

       8   Remarkably, MarkMonitor contends that it ran a software business for over a decade without

       9   maintaining any of this necessary and standard documentation. 39

      10   II.     MarkMonitor Must Produce Technical Information Regarding the RIAA Databases

      11           (RFP Nos. 11-13)

      12           Likewise, though MarkMonitor was contractually obligated to create and maintain a -

      13                                                                 for the RlAA, MarkMonitor has neither

      14   produced copies of                    nor granted access to them, as sought by RFP Nos. 11-13. 40

      15   Rather, MarkMonitor has directed Charter to two spreadsheets produced by Plaintiffs.41            But

      16   MarkMonitor, as the recipient of this subpoena and the custodian of this data, is obligated to respond

      17   to Charter's requests, not Plaintiffs. And, as Chatter has explained to MarkMonitor, the spreadsheets

      18   as produced by Plaintiffs are missing at least some of the data that was provided to MarkMonitor by

      19   Audible Magic regarding the downloaded files. 42

      20           Moreover, beyond failing to provide access to the databases in question, MarkMonitor has

      21   once again provided no documentation concerning the structure and operation of those databases.

      22   Among the missing documentation, for example, are database schema that would at least show what

      23   36 See Chatterjee Deel.,~ 19.
           37 See Chatterjee Deel., ~ 22.
      24   38 See Chatterjee Deel.,~ 23.
           39 See Golinveaux Deel., Ex. 5 (MarkMonitor' s Am. Resps . and Objs.) ; Ex. 3 (Feb. 25 , 2020 Email
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           from MarkMonitor to Charter, "Specifically, I have requested, as we discussed, a more definitive
           statement as to those requests for production of documents which we believe do not exist and/or are
      26
           not within our client' s possession, custody, or control ... ").
           40 See Golinveaux Deel. , Ex. 2 (Charter's Subpoena Duces Tecum on MarkMonitor).
      27   41 See Golinveaux Deel. , Ex. 3 (Feb. 25 , 2020 email from MarkMonitor to Charter).
           42 See Golinveaux Deel. , Ex. 6 at 5-6 (Apr. 6, 2020 letter from Charter to MarkMonitor identifying 10
      28
           types of data provided by Audible Magic, but missing from the spreadsheets produced by Plaintiffs).
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       1   data was maintained in the databases. 43 Likewise, specifications for the databases, manuals describing

       2   their operation (such as descriptions of the reports that they can generate), and related documents are

       3   absent from MarkMonitor's production. Such documentation was specifically requested by RFP Nos.

       4   11-13 and it is necessary to allow Charter to assess the significance of the data produced, and to

       5   definitively determine whether the produced spreadsheets contain all of the relevant data in

       6   MarkMonitor's possession.44

       7   III.     MarkMonitor Must Produce Assessments of Its System (RFP Nos. 35-40)

       8            Because Plaintiffs rely on MarkMonitor's detection and infringement notices as their sole

       9   evidence of copyright infringement, Charter also sought any assessments of the technical strengths

      10   and weaknesses of MarkMonitor's technology and all documents related to any such assessments. 45

      11   Notably, several such assessments were reported in the press in relation to the RIAA's use of

      12   MarkMonitor for the Copyright Alert System ("the CAS") project. The CAS was an inter-industry

      13   agreement entered into by major ISPs in the U.S. as well as content owners, including many of the

      14   Plaintiffs. In fact, with regard to the CAS, the RIAA teamed with several large ISPs (Comcast,

      15   Verizon, AT&T, and others), and relied on MarkMonitor to provide copyright infringement detection

      16   and notice generation in the same manner as for Charter. 46

      17            Charter has requested these analyses of MarkMonitor's infringement and notice generation

      18   techniques (RFP Nos. 35-40), since they provide a direct check to Plaintiffs' claim that

      19   MarkMonitor's techniques are "precise and meticulous" and that MarkMonitor-generated evidence is

      20   the "gold standard in anti piracy work." 47 While two of these analyses are part of the public trial record

      21   in the Sony v. Cox case, and, thus, available to Charter, copies in the possession of MarkMonitor

      22   (including, for example, any annotations) have not been produced, nor has any of the surrounding

      23   43 See Chatterjee Deel., ~ 21.
           44 See Golinveaux Deel., Ex. 2 (Charter's Subpoena Duces Tecum on MarkMonitor).
      24   45 Id., Regs . 11, 12, 13.
           46 See Golinveaux Deel. Ex. 19 (CCI Recommits to Independent Evaluation of Content Methodology)
      25
           (explaining that the Center for Copyright Information ("CCI") hired independent technology
           consultants to analyze the system run by MarkMonitor to "ensure that alerts are accurate and sent to
      26   the right person"); see also Golinveaux Deel., Ex. 20 (Phase One and Beyond) at 6 (explaining that
           "all the member content owners use the same vendor to generate notices, a company called
      27   MarkMonitor") and n.19 (explaining that Stroz Friedberg and Harbor Labs were hired to "review the
           notice generation methodology employed by the content owners," i.e., the MarkMonitor system).
      28   47 See Golinveaux Deel., Ex. 15 (Sony Trial Tr. at 40: 1-9, 2944: 10-11 ).

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       1   co1Tespondence, let alone any documents or other materials that Markivlonitor made available to the

       2   third pruiies that perfo1med these analyses. Similarly, none of MarkMonitor's own internal audits,

       3   which would be expected to enslll'e the reliability of a software product, have been produced. 48

       4   IV.       Markl\fonitor Must Produce All of the Charter Evidence Packages (RFP Nos. 9, 13)

       5             As discussed above, when ivfark11onitor detected a verified instance of infringement it was

       6   supposed to create and maintain an "evidence package" to provide a record of the alleged

       7   infringement. 49 Markivlonitor intends to rely on these "evidence packages" at h·ial, as it did in the

       8   recent Sony v. Cox litigation. 5    ° Chatter requested all of the "evidence packages" created by
       9   MarkMonitor for RIAA and infonuation sufficient to understand what the "evidence packages"

      10   purpoli to represent. 51 Markivfonitor has not produced them. In response to these requests,

      lI   Markivlonitor again directed Chaiter to documents produced by Plaintiffs, but the docmnents produced

      12   by Plaintiffs do not satisfy Charter's request. 52

      13             Each infringement notice is supposed to be accompanied by an evidence package. 53 While

      14   Plaintiffs claim that over 660,000 infringement notices were generated by Mru·kM:onitor and sent to

      15   Cha1ier, only 357,000 evidence packages have been produced. Where are the remaining 300,000

      16   "evidence packages''?

      17             Charte1· also requested any reports or other communications from Markivlonitor to the RIAA

      18   regru·ding detected infringement. 54 Since :rv1arklvfonitor was c-ontractually obligated to

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           48
                See Chatte1jee Deel., ,I 23.
      22   49 SP.e Golinve~ux Deel. Fx_11 M MM000065 (2015 SOW

      23
                                                                                                               see
      24   a so X.     a '                           111vers1 r .otlce rogram ; X.      a ~,.u.nv•vv~,...      W);
           Ex. 13 at ~1M000072, 74 (2015 SOW).
           50
      25      See, e.g. , Golinveaux Deel., Ex. 15 (S01zv v. Cox Litig. Tr. at 2944:21-24, "Mr. Bahm1 went through
           numerous data packages of evidence, and ultimately, as you saw, all of that data came together to
      26
           demonstrate why MarkMonitor's evidence collection process worked.").
           51
              See Golinveaux Deel., Ex. 2 (Cha1t.e r's Subpoena Duces Tecum on MarkMonitor, Reqs. 9 and 13).
           52 See Golinveaux Deel., Ex. 4 (Mar. 5, 2020 email co1Tesponn.Pnr•<>                      ·         )
      27   53 'ie Go ·nv m x          Ex       ·    1000 :B ?. · '
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       2   corroborate the alleged infringement detailed in the "evidence packages," but MarkMonitor has also

       3   failed to produce any of the repoiis that it provided to the RIAA.

       4   V.     MarkMonitor Must Produce All Documents Related to the CAS (RFP No. 35-40, 48)

       5          As discussed above, Plaintiffs used MarkMonitor's technology to perform infringement

       6   detection and send notices to alleged infringers on Cha1ier' s network, as well as alleged infringers on

       7   the networks of the ISPs that paiiicipated in the CAS. Indeed, the same Master Agreement and

       8   Statements of Work governed and defined the services provided by MarkMonitor pursuant to both the

       9   CAS and the Charter investigation and notice operations. 56 Based on the allegations in Plaintiffs'

      10   complaint and their interrogatory responses, it is clear that Plaintiffs intend to argue that the

      11   MarkMonitor infringement notices were intended to prove infringement to Charter and invoke action

      12   on Chaiier' s part. 57 In addition, Plaintiffs contend that Charter is liable for its "failure to take

      13   reasonable measures to terminate repeat infringers" in response to the MarkMonitor notices. 58

      14          Ironically, the public record discloses that Plaintiffs' own use ofMarkMonitor's notices during

      15   the CAS program directly contradicts Plaintiffs' present litigation positions. For example, Jill Lesser,

      16   the president of the industry organization that pursued the CAS, explained during hearings on Capitol

      17   Hill that the one of the two primary goals of the CAS was "to educate consumers about the importance

      18   of copyright protection," and that it was specifically not intended to call the ISPs to action. 59 Indeed,

      19   the industry made clear that even when an ISP received MarkMonitor infringement notices relating to

      20
           55 See Golinveaux Deel., Ex. 11 at MM000053 (2013 SOW); Ex. 13 MM000073 (2015 SOW); Ex. 12
      21
           at MM000077, 87 (2014 SOW).
           56 See Golinveaux Deel., Ex. 7 (Master Agreement, MM00000l); Ex. 8 at MM000016 (2011 SOW);
      22
           Ex. 10 at MM000030 (2012 SOW); Ex. 11 at MM000048 (2013 SOW); Ex. 12 at MM000082 (2014
           SOW); Ex. 13 (2015 SOW).
      23   57 See Golinveaux Deel., Ex. 1 (Warner Litig. First Am. Comp!. ,r 2, "Those notices advised Charter

           of its subscribers' blatant and systematic use of Charter's Internet service to illegally download, copy,
      24
           and distribute Plaintiffs' copyrighted music through BitTorrent and other online file-sharing services.
           Rather than working with Plaintiffs to curb this massive infringement, Charter did nothing, choosing
      25
           to prioritize its own profits over its legal obligations." (emphasis added)).
           58 Id. at ,r 10 ("Much of the misconduct alleged in this Complaint arises directly from Charter's forum-
      26
           directed activities-specifically ... Charter's receipt of and failure to act in response to Plaintiffs'
           notices of infringement; and Charter's failure to take reasonable measures to terminate repeat
      27
           infringers .").
           59 See Golinveaux Deel., Ex. 21 (Jill Lesser, Tr. of Mar. 8, 2013 educational briefing entitled
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           "Combating Piracy Online: The Copyright Alert System, a Voluntary Approach").
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       1   a subscriber, the industry did "not in any circumstance require an ISP to terminate a subscriber's

       2              °
           account." 6 Charter is entitled to documents and communications regarding the CAS because they are

       3   at least relevant to direct challenges that Charter is allowed to make to Plaintiffs' current claims

       4   regarding the purpose and appropriate action related to MarkMonitor' s infringement notices.

       5            In addition, testimony provided in open cou1t during the Sony v. Cox trial establishes that the

       6   infringement investigations pursued by MarkMonitor on behalf of the RJAA had several fundamental

       7   differences from the investigations pursued here; in particular, the CAS investigations were more

       8   thorough (and more expensive) than the investigations done in this case.           The nature of those

       9   differences, the reasons for them, and their impact on the accuracy of the MarkMonitor findings here

      10   (as opposed to the CAS findings) are all fair game in this case.

      11   VI.      MarkMonitor Must Produce All Communications with Plaintiffs and the RIAA

      12            MarkMonitor has acknowledged that it (or its counsel) have had communications with

      13   Plaintiffs (or Plaintiffs' counsel) related to documents responsive to Chatter' s document requests. 61 If

      14   nothing else, the fact that MarkMonitor has relied on Plaintiffs' (facially incomplete) production of

      15   MarkMonitor documents and data as a substitute for MarkMonitor's own production of these materials

      16   evidences communication and coordination between the two. Likewise, the fact that MarkMonitor

      17   and the RJAA had a relationship that extended back to at least 2008, was memorialized in a series of

      18   detailed agreements, and entailed weekly reporting confirms that there had to have been

      19   communications between them, both at the time of the alleged infringement and continuing through

      20   the present. MarkMonitor has withheld these communications on the basis that MarkMonitor serves

      21   as a litigation consultant to Plaintiffs, and that its communications with Plaintiffs ( or Plaintiffs'

      22

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           60 Id.
      27   61
             See, e.g., Golinveaux Deel., Ex. 5 (MarkMonitor Am. Resps. and Objs. to Reg. Nos. 9, 13, 24-27,
           and 51 ("[MarkMonitor] has determined responsive information to this request may be contained in
      28
           information previously provided to Plaintiffs . . .")) (emphasis added).
                                                               14
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           counsel) are subject to some privilege or immunity. 62 As a preliminary matter, it is unclear whether

       2   this privilege is being asserted from the inception of the MarkMonitor-RJAA relationship, from the

       3   time of the Master Agreement, or from some more recent date in connection with this lawsuit;

       4   depending on the answer to those questions, any privilege would only apply to a subset of the patties'

       5   communications. In any event, the asse1tion of privilege is problematic. MarkMonitor bears the

       6   burden of proving any privilege or immunity, and the withheld documents must be placed on a

       7   privilege log so that Charter can challenge those privilege assertions. See McMorrow, et al. v.

       8   Mondelez Int'!, Inc., Case No. l 7-cv-02327-BAS (JLB), 2019 WL 3852498, at *4 (N.D. Cal. Apr. 19,

       9   2019). MarkMonitor has declined to provide any such privilege log. Similarly, MarkMonitor should

      10   produce the agreement evidencing its relationship as a litigation consultant, as the details of any such

      11   agreement are fundamental to the assertion of privilege.

      12          MarkMonitor's communications with the RJAA are certainly relevant for numerous reasons,

      13   not least of which is that MarkMonitor was performing infringement detection, and sending notices,

      14   at the RJAA' s direction and it was                                        . All of the communications

      15   relating to this work, and the reports it entailed, are discoverable. Moreover, the MarkMonitor-RJAA

      16   contracts indicate that there were various options available, related to the level of accuracy in

      17   MarkMonitor' s infringement detection. What level of accuracy was MarkMonitor directed to employ,

      18   and why? What was MarkMonitor told regarding the purpose of sending infringement notices, and

      19   the supposed efficacy of those notices? What did MarkMonitor tell the RJAA on these issues? These

      20   are all critical issues in the litigation, and MarkMonitor has provided no explanation why documents

      21   bearing on them would be protected from production, nor has MarkMonitor provided a privilege log

      22   as required when withholding documents on the basis of privilege or work product immunity. Id.

      23   VII.   MarkMonitor Must Produce Document Retention Policies and Privilege Logs (RFP Nos.

      24          20, 47)

      25           As discussed above, MarkMonitor has said that it does not possess documents responsive to

      26   62 See Golinveaux Deel., Ex. 4 (Mar. 5, 2020 email correspondence from MarkMonitor to Charter,
           "MarkMonitor also serves, as it did in the Sony case, as a litigation consultant to the plaintiffs and
      27
           therefore is not going to produce communications with plaintiffs or their counsel which is protected
           from disclosure under the attorney work product doctrine, attorney-client privilege, is otherwise
      28
           privileged or is beyond the scope of the subpoena requests.").
                                                            15
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       1   many of Charter's most basic requests. Why? Were the missing documents destroyed or lost, either

       2   during the ordinary course of business or otherwise? Courts have consistently found that document

       3   retention polices are discoverable, especially in circumstances where the producing party contends

       4   that they no longer possess responsive documents. See, e.g., Sharma v. BMW ofN. Am. LLC, No. 13-

       5   cv-02274-MMC (KAW), 2016 WL 1019668, at *4 (N.D. Cal. Mar. 15, 2016) (finding the information

       6   relevant as the "document retention policies may help Plaintiffs determine the universe of responsive

       7   documents and evaluate any gaps in document production"); Montgomery v. Wal-Mart Stores, Inc. et

       8   al., 12-cv-3057-JLS (DHB), 2015 WL 11233390, at *3 (S.D. Cal. Sep. 4, 2015); Bakhtiari Corp. v.

       9   Register Tapes Unlimited Inc., No . 12-cv-5183 LHK (PSG), 2013 WL 2253182, at *3 (N .D. Cal. May

      10   22, 2013).

      11          Similarly, to the extent that MarkMonitor has withheld documents on the basis of privilege,

      12   Charter is entitled to a privilege log so that it may challenge MarkMonitor's privilege assertions. Fed.

      13   R. Civ. P. 26(b)(5)(A)(ii). See supra McMorrow at *4.

      14                                              CONCLUSION

      15          Based on the foregoing, Charter respectfully requests that the Court grant its motion to compel

      16   and order MarkMonitor to: (I) comply fully with RFP Nos. 6, 9, 11-27, 31, 35-40, 43, 47, 48 of the

      17   Subpoena no later than June 5, 2020.

      18

      19   Dated: May 11 , 2020                          WINSTON & STRAWN LLP

      20                                                 By:        Isl Jennifer A. Golinveaux
                                                                    Jennifer A . Golinveaux (SBN: 203056)
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      23                                                            Fax: (415) 591-1400
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                                                                    Krishnan Padmanabhan (SBN: 254220)
      25                                                            Winston & Strawn LLP
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      26                                                            New York, NY 10166
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      28
                                                               16
                        NOTICE OF MOTION AND MOTION TO COMPEL COMPLIANCE WITH SUBPOENA DUCES TECUM
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                                      24

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       1                                                  Counsel for Movant
                                                          CHARTER COMMUNICATIONS, INC.
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                                      24

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                                        UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
       2                                   SAN FRANCISCO DIVISION
       3   CHARTER COMMUNICATIONS, INC.,                  )
                                                          )   Case No. _ _ _ - MISC
       4             Movant,                              )
                                                          )
       5               V.                                 )   [Proposed] Order
                                                          )
       6   MARKMONITOR, INC.                              )
                                                          )
       7             Respondent.                          )

       8

       9                    THIS MATTER having come before the Court on the Motion to Compel Compliance

      10   with Subpoena Duces Tecum filed by Charter Communications, Inc., and good cause having been

      11   shown, it is hereby

      12                    ORDERED that the Motion is GRANTED; and it is further

      13                    ORDERED that the Respondent, MarkMonitor, Inc. , - - --

      14                    IT IS SO ORDERED.

      15
           Dated :
      16                                                      JUDGE OF THE DISTRICT COURT

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Case No. 1:19-cv-00874-RBJ-MEH Document 207 filed 07/15/20 USDC Colorado pg 24 of
                                      24

              Case 3:20-mc-80084-SK Document 1 Filed 05/11/20 Page 24 of 24




       1                                  CERTIFICATE OF SERVICE

       2         I hereby ce1tify that I have made service of the foregoing NOTICE OF MOTION AND

       3   MOTION TO COMPEL COMPLIANCE WITH SUBPOENA DUCES TECUM AND PROPOSED

       4   ORDER by U.S. Mail and email on May 11, 2020, addressed to:

       5                       Andrew D. Castricone
       6                       acastricone@grsm.com
                               GORDON & REES
       7                       275 Battery Street, Suite 2000
                               San Francisco, CA
       8                       Counsel for Respondent MarkMonitor, Inc.
       9
                               Jeffrey M Gould
      10                       jeff@oandzlaw.com
                               OPPENHEIM+ ZEBRAK, LLP
      11                       4530 Wisconsin Avenue, NW, 5th Floor
                               Washington, DC 20016
      12                       Counsel for Plaintiffs in the Warner litigation
      13
                                                             Isl Krishnan Padmanabhan
      14
                                                             Krishnan Padmanabhan
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